Case 2:03-cr-20083-STA Document 110 Filed 05/25/05 Page 1 of 5 Page|D 117
UN|TED STATES DlSTRlCT COURT FH_§B ' 1 .t

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MEMPHls DivlsioN ~

UN|TED STATES OF AMER|CA

 

-v- 2:030R20083-01-B

IVIARLO PR|DE
Michae| Scho||, Retained
Defense Attorney
8 S. Third Street, 4"‘ Floor
N|emphis, TN 38103

 

JUDGN|ENT iN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 ot the indictment on November 17, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section NMre_Qf_O.ff_eM offense _NM(§)
C_OMM
18 U.S.C. § 922(9) Fe|on in Possession of Ammunition 05/11/2002 3

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Ftestitution Act of 1996

Counts 1, 2 & 4 are dismissed on the motion of the United States.
|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name1 residence, or mailing address until a|| fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/11/1980 |‘viay 23, 2005
Deft’s U.S. |V|arsha| No.: 28957-076

Defendant’s |V|aiiing Address:
1121 Knox Fload
|Vlemphis, TN 38127

 

J. DAN|`EL BREEN
NlTED sTATEs DisTRicT JuDeE

May Z/\/ , 2005

This document entered on the docket sheet in com iiance
with eula 55 and/or 32(b) irach un§‘ § 5'0§

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Case No: 2:030Ft20083 Defendant Name: Marlo PR|DE Page 2 of 4
|MPRISONIVIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 64 Months.

The Court recommends to the Bureau of Prisons:

- The 500 Drug Treatment Program.
- P|acement as close to |Vlemphis, Tennessee, as possib|e.

The defendant is remanded to the custody of the United States Niarshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Detendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |ViARSHAl_
By:

 

Deputy U.S. Nlarsha|

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Case No: 2:03CFi20083 Defendant Name: Marlo PRlDE Page 3 of 4

SUPERVISED RELEASE

Upon release frorn imprisonment, the defendant shall be on supervised release for
a term of 2 years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this courf.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed bythe court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:03CR20083 Defendant Name: Niario PFtlDE Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

2) Seek and maintain full-time employment

3) Cooperate with DNA collection as directed by the Probatlon Officer.

CR|N||NAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00
The Special Assessment shall be due immediately.

FINE
No fine imposedl

REST|TUT|ON
No Ftestitution was ordered.

 

DISTRIC COUR - WETERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 110 in
case 2:03-CR-20083 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

John Thomas Tibbetts

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Michael Edvvin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

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1\/1emphis7 TN 38103--238

Honorable J. Breen
US DISTRICT COURT

